  Case 1:18-cv-02113-WTL-MJD Document 50 Filed 10/31/18 Page 1 of 1 PageID #: 350


                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

Eszter Pryor,                                )
Logan Kline,                                 )
Marissa Johnson,                             )
and Jane Does 4-50,                          )
on behalf of themselves and                  )
all others similarly situated,               )
                                             )       Case No. 1:18-cv-2113-WTL-MJD
                Plaintiffs,                  )
                                             )
vs.                                          )       Related Case No. 1:18-cv-3015-WTL-MJD
                                             )
USA Diving, Inc., and                        )
Will Bohonyi,                                )
                                             )
                Defendants.                  )



                              AMENDED SUMMONS IN A CIVIL ACTION


TO:     WILL BOHONYI
        2194 Country Corners Drive
        Columbus, OH 43220

        A lawsuit has been filed against you. Within 21 days after service of this summons on you (not
counting the day you received it) C or 60 days if you are the United States or a United States agency, or
an officer or employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) C you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name
and address are:
                                              Jonathan Little
                                           Saeed & Little, LLP
                                     133 West Market Street, No. 189
                                         Indianapolis, IN 46204

       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

                                                     CLERK OF COURT


          October 31, 2018
Date: ______________________                         _______________________________________
                                                     Signature of Clerk or Deputy Clerk
Civil Action Number: 1:18-cv-2113-WTL-MJD
